USCA4 Appeal: 20-2187   Doc: 131         Filed: 11/18/2024   Pg: 1 of 3




                        UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT
        ____________________________________
                                            )
        APPALACHIAN VOICES, et al.,         )
                                            )
                             Petitioners,   )
        v.                                  )
                                            ) No. 20-2187 (L)
        UNITED STATES                       )
        ENVIRONMENTAL PROTECTION )
        AGENCY, et al.,                     )
                                            )
                             Respondents.   )
        ____________________________________)

                                   STATUS REPORT

              Respondents (collectively, “EPA”) submit this status report in

        accordance with this Court’s April 8, 2022 order.

              1.   These consolidated petitions for review challenge an EPA

        rule entitled “Steam Electric Reconsideration Rule,” 85 Fed. Reg. 64650

        (Oct. 13, 2020) (“2020 Rule”).

              2.   In July 2021, EPA announced its intention to conduct a

        notice-and-comment rulemaking to reconsider the 2020 Rule and moved

        to hold this case in abeyance pending completion of the rulemaking.

        Mot. to Hold Case in Abeyance (July 26, 2021), Doc. No. 62-1; 86 Fed.

        Reg. 41801 (Aug. 3, 2021).



                                                1
USCA4 Appeal: 20-2187   Doc: 131       Filed: 11/18/2024   Pg: 2 of 3




              3.    On April 8, 2022, the Court granted EPA’s motion and

        placed this case into abeyance pending the completion of EPA’s

        rulemaking. Order (Apr. 8, 2022), Doc. No. 83. The Court ordered EPA

        to file status reports at thirty-day intervals. Id.

              4.    EPA finalized its reconsideration of the 2020 Rule earlier

        this year. 89 Fed. Reg. 40198 (May 9, 2024) (“2024 Rule”).

              5.    A number of parties challenged the 2024 Rule in various

        petitions for review filed in several circuits. Under the multicircuit

        petition process in 28 U.S.C. § 2112(a), the Judicial Panel on

        Multidistrict Litigation selected the Eighth Circuit as the court in

        which to consolidate those petitions. In re: Environmental Protection

        Agency, Supplemental Effluent Limitations Guidelines and Standards

        for the Steam Electric Generating Point Source Category, 89 Fed. Reg.

        40198, Published on May 9, 2024, MCP No. 187 (J.P.M.L. June 14,

        2024); Sw. Elec. Power Co. v. EPA, No. 24-2123 (8th Cir.) (lead case).

              6.    EPA’s position is that this Court should continue to hold

        these petitions in abeyance pending the Eighth Circuit’s review of the

        2024 Rule. In accordance with this Court’s April 8, 2022 order, EPA will

        file another status report in thirty days.



                                              2
USCA4 Appeal: 20-2187   Doc: 131      Filed: 11/18/2024   Pg: 3 of 3




                                           Respectfully submitted,

                                           TODD KIM
                                           Assistant Attorney General

                                           /s/ Tsuki Hoshijima
                                           TSUKI HOSHIJIMA
                                           U.S. Department of Justice
                                           Environment and Natural Resources
                                            Division
                                           Environmental Defense Section
                                           P.O. Box 7611
                                           Washington, D.C. 20044
                                           (202) 532-3285
                                           tsuki.hoshijima@usdoj.gov

                                           Counsel for Respondents



                             CERTIFICATE OF SERVICE
              I certify that on November 18, 2024, I filed the foregoing using the

        Court’s CM/ECF system, which will electronically serve all counsel of

        record registered to use the CM/ECF system.

                                                 /s/ Tsuki Hoshijima




                                             3
